©©PY

Case

[\.>

\DOO'-~JO'\!J\LW

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

8:13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 1 of 15 Page |D #:3

Derek J. Emge (SBN 161105)
derek@emgelawfinn.com

Suzanne K. Emge (SBN 163250)
suzanne@emgelawjirm.com

EMGE & ASSOCIATES

225 Broadway, Suite 1350

San Diego, CA 92101

Tel.: (619) 595-1400 / Fax: (619) 595-1480

 

 

 

 

Matthew J. Zevin (SBN 170736)
mzevin@stanleyiola.com

STANLEY ' IOLA, LLP

225 Broadway, Suite 1350

San Diego, CA 92101

Tel.: (619) 235-5306/Fax: (815) 377-8419

Attomeys for Plaintiff JOHN GRAHAM and All
()thers Similarly Situated

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JOHN GRAHAM, mdividuany and 011 ease No.=SH CV /3 '71)/ 3 ”33 l

Behalf of A11 Ochers Similarly Simated, cLAsS ACTION ' CH>@
COMPLAINT FOR:
Plaintiffs, 1. Violations of Truth In Lending Act,
v. 15 U.S.C. § 1601, et. seq.;
2. Unjust Em'ichment;
CAPITAL ONE BANK (USA), N.A.; 3. Fraud in the Inducement;
and DOES 1 through 10, Inclusive, 4. Fraud in the Execution;
5. Violations of California Business &

Defendants. Professions § 17500, et seq.
Unlawful Business Practices in
Violation of California Business &
Professions § 17200, et seq.

7. Unfair Business Practices in
Violation of California Business &
Professions § 17200, et seq.

8. Fraudulent Business Practices in
Violation of California Business &
Professions § 17200, et seq.

9. Violations of Truth In Lending Act,
15 U.S.C. § 1642.

JURY TRIAL DEMANDED

?\

 

 

 

COMPLAINT

 

Case

N

\DOo-~.‘IC\¢J\-l>m

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

B:13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 2 of 15 Page |D #:4

Plaintiff, John Graharn (“Plaintiff”) by and through his attorneys, brings this
class action against Defendant Capital One Bank(USA), N.A. (“Defendant” or
“Capital One”), on his own behalf and on behalf of all others similarly situated, and
alleges as follows based upon personal knowledge, upon information and belief,
and upon the investigation of his counsel:

NATURE OF THE ACTION

l. This action arises out of Defendant’s routine practice of providing
false disclosures in conjunction with applications for credit cards that are co-
branded with non-party Best Buy Co., lnc. (“Best Buy”).

2. As required under the Federal Truth and Lending Act, 15 U.S.C. 1601
et seq. (“TILA”), the disclosures include “Schurner Boxes” that affirmatively state
that the credit cards do not have an annual fee. Contrary to those TILA-mandated
disclosures, however, Capital One routinely issues consumers credit cards that have
an annual fee. Accordingly, the TILA~mandated disclosures are false and
misleading, and consumers have suffered injury because they have been forced to
pay an annual fee that was not properly disclosed.

PARTIES

3. Plaintiff John Graham (“Plaintift”) resides in Costa Mesa, California
and, in reliance on Defendant’s false and misleading Schumer Box disclosures, he
applied for a “no annual fee” Capital One credit card that was co-branded with Best

Buy. Instead of receiving a no-annual fee credit card, Plaintiff received a credit
card that had an annual fee of 339.00.

4. Capital One is a national association chartered under the laws of the
United States. It serves as the credit card subsidiary of Capital One Financial
Corporation, a Delaware Corporation with its headquarters in McLean, Virginia.
Capital One conducts a substantial amount of business nationwide, including in

California. As of December 31, 2012, it held approximately $91.8 billion in credit

card loans.

 

 

COMPLAINT

 

Case

l\J

\DOO‘--IG\‘~.A-PL)J

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

8:13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 3 of 15 Page |D #:5

5. Plaintiff does not know the true names and capacities of defendants
sued herein as DOES l through 10, inclusive, and will amend this Complaint to set
forth the true names and capacities of said defendants, along with the appropriate
charging allegations when the same have been ascertained

6. Plaintiff is informed and believes, and on that basis alleges, that each
of the fictitiously named defendants was in some manner legally responsible for the
actionable and unlawful actions, policies and practices as alleged herein. Plaintiff
will amend this Complaint to set forth the true names and capacities of said
defendants, along with the appropriate charging allegations when the same have
been ascertained

7. Plaintiff is informed and believes, and thereon alleges, that at all times
mentioned herein, all defendants, and each of them, were acting as the agent and!or
employee of each remaining co-defendant, and were acting with permission and
consent of one another, and within the course and scope of said agency and/or
employment Plaintiff is further informed and believes that each co-defendant, by
and through its officers, directors or managing agents ratified, authorized and
approved, expressly or implicitly, all of the conduct alleged herein.

JURISDICTION AND VENUE

8. Plaintiff realleges by reference, as if fully set forth herein, all of the
above-referenced paragraphs

9. This Court has original federal question jurisdiction under 28 U.S.C.
§ 1331 and 15 U.S.C. §§ 1640(e) for the claims brought under the federal Truth In
Lending Act (“TILA”), 15 U.S.C. 1601, et seq.

10. The Court also has original jurisdiction over this Action under the
Class Action Fairness Act, 28 U.S.C. § 1332(d), because this is a class action in
which: (1) at least some members of the proposed Class have a different citizenship

h'om Defendant; and (2) the claims of the proposed Class members exceed

$5,000,000.00 (Five Million U.S. Dollars) in the aggregate
2

 

 

 

COl\{PLAlNT

Case

l\.)

\OOQ“-~JG\Lh-I>~w

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

_25
26
27
28

8:13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 4 of 15 Page |D #:6

ll. The Central District of California has personal jurisdiction over the
Defendant named in this action because Defendant is a corporation or other business
entity authorized to do business in the State of California and registered with the
California Secretary of State to do sufficient business with sufficient minimum
contacts in California, and/or otherwise intentionally avail itself of the California
market through the operation of their credit card business within the State of
California, to render the exercise of jurisdiction by the Califomia courts consistent
with traditional notions of fair play and substantial justice.

12. Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391
because Defendant has conducted business in this District, and a substantial portion
of the conduct complained of herein, including Defendant’s interactions With
Plaintiff, occurred in this District.

13. As described herein, Plaintiff is informed and believes, and based
thereon alleges, that at all times relevant hereto, Defendant solicited business nom
residents and other individuals within the State of California, conducted business
with consumers in the State of California, solicited and conducted business with
Plaintiff and others similarly situated, said business being the subject matter of this
Class Action Complaint.

_IQ\_(_I_IUAL ALLEGATIONS

14. ln the second half of December, 2012, Plaintiff visited the Best Buy
Internet website and saw a link to a credit card offer that identified two credit cards
- the Reward Zone Platinum MasterCard and the Reward Zone Credit Card
(collectively, the “BEST BUY REWARD ZONE CREDIT CARDS”).

15. During the second half of December, 2012, Plaintiff accessed a three-
page “BEST BUY REWARD ZONE CREDIT CARD APPLICATION” on the
Best Buy website. A true and correct copy of the application is attached hereto as
Exhibit “A.”

/ / /

 

 

 

COMPLAINT

Case

\OOC---JO\U!-LL)JN»-‘

NNNNNNNNNl-\s-\)_‘»-a>_\>_¢»-»>_¢»-\>-

F:lS-cv-OOMS-.]LS-.]PR Document 1 Filed 05/09/13 Page 5 of 15 Page |D #:7

16. Plaintiff also read the accompanying disclosure entitled “Important
Account Inforrnation,” which included two “Schumer Boxes,” one for each of` the
two credit cards offered Under the “REWARD ZONE PLATINUM
MASTERCARD Account Openjng Table,” the applicable “Schumer Box,” clearly
and conspicuously stated in large type: “Annual Fee: NONE,” with “none” in all
capitals. A true and correct copy of this disclosure is attached hereto as Exbibit
“B_,,

17. Sirnilarly, for the Reward Zone Credit Card, a second “Schumer Box”
clearly and conspicuously stated in large type: “Annual Fee: NONE,” with “none”
in all capitals. (Exhibit “B”). The two Sehumer Boxes attached as Exhibit B were
the only Sehumer Boxes accompanying the application

18. Relying on these disclosures, Plaintiff completed and submitted online
the BEST BUY REWARD ZONE CREDIT CARD APPLICATION. A significant
and material factor in Plaintist decision to apply for the credit cards was the
Sehumer Box disclosures that there would be no annual fee. Had Defendant
disclosed that it would charge an annual fee, Plaintiff would not have applied for
either Reward Zone credit card.

19. On or about December 28, 2012, Plaintiff sought to check on the
status of his application and called Capital One Customer Service. He was told his
application for credit was accepted, and he received an account number to use for
immediate purchasing On that same day, he used the account number to purchase
an item at the Best Buy store in Costa Mesa, Calif`ornia.

20. On or about January 2, 2013, Plaintiff accessed an online statement
for his Reward Zone credit card from Capital One and learned for the first time that
he had been charged an annual fee of $39.00.

21. Plaintiff was surprised and angry that he had been charged an annual
fee, and he called Capital One to rectify the mistaken charge. He was, however,

told by a Capital One customer service representative that the annual fee could not
4

 

 

COMPLAINT

 

 

Case

]8:13-cv-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 6 of 15 Page |D #:8

be waived. Further he was told that he could not rescind the credit card without
paying the $39 annual fee.

22. On or about January 9, 2013, Plaintiff received by mail a credit card
from Capital One. Although he applied for either the Reward Zone Platinum
MasterCard or the Reward Zone Credit Card, he received a completely different
credit card, the Best Buy Rewardzone Gold MasterCard, which was not mentioned
or disclosed in the BEST BUY REWARD ZONE CREDIT CARD APPLICATION
or its accompanying Sehumer Boxes.

23. On or about February 10, 2013, Plaintiff paid at least a portion of the
$39 annual fee, and Plaintiff believes that he has been required (and will continue to
be required) to pay interest on at least a portion of that fee.

24. Upon information and belief, Defendant has used the same false and
misleading Sehumer Box disclosures With all of its BEST BUY REWARD ZONE
CREDIT CARD APPLICATIONS.

CLASS ALLE(_}ATIONS

25. Plaintiff JOHN GRAHAM brings this action on behalf of himself and

all others similarly situated as a member of the proposed nationwide plaintiff class

and subclasses (collectively hereafter the “Classes”) defined as follows:

Nationwide Class: All persons residing in the United States who, between
May 8, 2011 and the present, submitted a BEST BUY REWARD ZONE
CREDIT CARD APPLICATION that was accompanied by one or more
“Schumer Boxes” that promised “no annual fee,” but who subsequently

received a credit card from Capital One that had an annual fee.

TILA Subclass: All persons residing in the United States who, between
May 8, 2012 and the present, submitted a BEST BUY REWARD ZONE

CREDIT CARD APPLICATION that was accompanied by one or more
5

 

COMPLAIN'I`

 

 

CaSe B:lS-cv-OOMS-.]LS-.JPR Document 1 Filed 05/09/13 Page 7 of 15 Page |D #:9

1 “Schumer Boxes” that promised “no annual fee,” but who subsequently
2 received a credit card from Capital One that had an annual fee.

3

4 California Subclass: All persons residing in Ca]ifornia who, between
5 May 8, 2009 and the present, submitted a BEST BUY REWARD ZONE
6 CREDIT CARD APPLICATION that was accompanied by one or more
7 “Schumer Boxes” that promised “no annual fee,” but who subsequently
8 received a credit card from Capital One that had an annual fee.

9

10 26. Excluded from the Classes are Defendant, as well its officers,

11 employees, agents or affiliates, and any judge who presides over this action, as well
12 as all past and present employees, officers and directors of Defendant Plaintiff
13 reserves the right to expand, limit, modify, or amend the class definitions, including
14 the addition of one or more subclasses, in connection with his motion for class
15 certification, or at any other time, based upon, inter alia, changing circumstances
16 and/or new facts obtained during discovery.

17 27. Numerosity: Upon information and belief, the Classes are composed
18 of hundreds or thousands of individuals in Ca]ifornia and nationwide, whose joinder
19 of this action would be impracticable The disposition of their claims through this
20 class action will benefit Class members, the parties, and the courts.

21 28. Existence and Predominance of Common Questions of Fact and
22 Law: There is a well-defined community of interest in questions of law and fact
23 affecting the Classes. These questions of law and fact predominate over individual
24 questions affecting individual Class members, including, but not limited to, the

25 following:

26 _ (a) Whether Defendant charged consumers an annual fee after
27 representing that no annual fee would be charged;
28 ///

6

 

 

 

COMPLAINT

Case

t\.'>

\DOO--]O\Lh-LL»J

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

B:13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 8 of 15 Page |D #:10

(b) Whether Defendant’s credit card application disclosures
violated TILA;

(c) Whether Defendant provided different credit cards from those
referenced in its application and TlLA-mandated disclosures;

(d) Whether Defendant’s practice of charging an annual fee on
Credit Cards after representing that no annual fee would be
charged constitutes unlawful, unfair or fraudulent conduct
under California law;

(e) Whether Defendant misrepresented and/or failed to disclose
material facts about its annual fees on its disclosures in
conjunction with credit card applications;

(f) Whether Defendant’s conduct, as alleged herein, is intentional
and knowing;

(g) Whether Class members are entitled to damages and/or
restitution; and, if so, what is the amount of damages and/or
restitution available to Class members as a result of the conduct
alleged herein; and

(h) Whether Class members are threatened with irreparable harm or
are otherwise entitled to injunctive and other equitable relief;
and, if so, what is the nature of such relief.

29. Typicality: Plaintiff's claims are typical of, and are not antagonistic
to, the claims of all Class members. Plaintiff and the Class he seeks to represent
have all been deceived (or were likely to be deceived) by Capital One’s
misrepresentations about the lack of annual fees associated with Defendant’s credit
cards.

30. Adequacy: Plaintiff is an adequate representative of the Classes

because his interests do not conflict with the interests of the members of the Classes

he seeks to represent Plaintiff will fairly and adequately represent and protect the
7

 

 

COMPLAINT

 

Case

LWN

\QOO'-JOHU\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

B:13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 9 of 15 Page |D #:11

interestlof the Classes because he has no interest that is antagonistic to the Classes.
Plaintiff has retained counsel who are competent and experienced in the prosecution
of consumer fraud and class action litigation

31. Superiority: The class action device is superior to other available
means for the fair and efficient adjudication of Plaintiff’ s and Class members’
claims. Because of the relatively modest size of individual Class members’ claims,
few, if any, Class members could afford to seek legal redress of the wrongs
complained of herein on an individual basis. Absent the class action, Class
members and the general public will likely continue to be deceived and suffer
economic injury, and the violations of law described herein will continue without
remedy, and Capital One will be permitted to retain the proceeds of its misdeeds.

32. All Class members, including Plaintiff, Were exposed to Defendant’s
TILA-mandated, Sehumer Box misrepresentations claiming that the credit cards
had no annual fee, when in fact there was an annual fee. Defendant was required by
TlLA to clearly and conspicuously disclose the existence of an annual fee in a
Sehumer Box accompanying its credit card applications, and it can be reasonably
inferred that Defendant’s misrepresentations concerning “no annual fee” were
uniformly made to, and seen by, all members of the Class. In addition, Plaintiff
relied and acted, and it can be reasonably presumed that all Class members
affirmatively relied and acted in response to Defendant’s TILA-mandated
disclosures that there would be no annual fee in connection with Defendant’s credit
cards.

FIRST CLAIM
(On behalf of the TILA Subclass)
tyiolations of Truth In Lending Act 15 U.S.C. § 1601 et grid
33. Plaintiff realleges by reference, as if fully set forth herein, all of the

above-referenced paragraphs

///

 

COMPLAIN'I`

 

 

Case €:13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 10 of 15 Page |D #:12

l\)

\DOO---.IO\U\-I>~b.>

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

34. The federal Truth ln Lending Act, including 15 U.S.C. §§ 1632 and
1637, as well as its implementing Regulation Z, including 12 C.F.R. §§ 226.5 and
226.6, require a credit card issuer, such as Defendant, to clearly, conspicuously and
accurately disclose all periodic fees, including annual fees, in a tabular format
commonly referred to as a “Schumer Box.” The Sehumer Box is required to be
provided in conjunction with applications to open credit card accounts

35 . Defendant provided “Schurner Box” disclosures in conjunction with
its BEST BUY REWARD ZONE CREDIT CARD APPLICATION which falsely
disclosed that the credit cards would have no annual fees. Plaintiff read and relied
on these TILA-mandated disclosures, and it can be reasonably inferred and
presumed that all members of the TILA Subclass read and relied on these TILA-
mandated disclosures

36. Despite Defendant’s representations stating that its Best Buy co-
branded credit cards had no annual fees, Plaintiff and the other TILA Subclass
members received credit cards that had an annual fee and were charged an annual
fee within the first billing cycle after receiving their credit card.

37. When Plaintiff and the TILA Subclass received the annual fee charge,
they had no option but to pay it, including any associated finance charges Once a
charge has been made on the credit card, Capital One ' would not allow the
cancelation of the credit card without paying the annual fee.

38. Capital One’s repeated, express representations promising no annual
fees in its TILA-mandated Sehumer Box disclosures were false, misleading and
violated TILA and Regulation Z.

39. Plaintiff, on behalf of himself, and on behalf of the TILA Subclass,
seeks all remedies and relief pursuant to the provisions of the federal Truth ln
Lending Act 15 U.S.C. § 1601, et seq., including, inter alia, injunctive relief,
statutory damages, actual damages, restitution and the disgorgement of money

acquired by means of the misleading business practices alleged above.
9

 

 

 

COMPLAINT

Case E

[\J

\DOO‘--IG\MLLJJ

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

:13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 11 of 15 Page |D #:13

40. As a result of Defendant’s misrepresentations about annual fees,

Plaintiff and the TILA Subclass have suffered actual monetary damages, including,

but not limited to, the amount of annual fees charged and paid, as well as any
finance charges accrued and paid on the annual fees, in an amount to be established
at trial. Plaintiff and the TILA Subclass will also suffer irreparable harm if
Defendant’s conduct is not enjoined
41. As a result of the foregoing, Plaintiff and the TILA Subclass have
been damaged in an amount to be proven at trial.
SECOND CLAIM
(On behalf of the Nationwide Class)
Uniust Enrichment
42. Plaintiff realleges by reference, as if fully set forth herein, all of the
above Paragraphs.
43. Capital One has knowingly obtained annual fees from Plaintiff and the

Class

44. Capital One obtained the annual fees through its naudulent
misrepresentation that the BEST BUY REWARD ZONE CREDIT CARDS had no
annual fees Subsequently, Plaintiff and the Class were charged annual fees

45. Capital One has retained the annual fees to its benefit under
circumstances that render it inequitable

46. As a result of Defendant’s misrepresentations about annual fees,
Plaintiff and the Nationwide Class have suffered actual monetary damages,
including, but not limited to, the amount of annual fees charged and paid, as Well as
any finance charges accrued and paid on the annual fees, in an amount to be
established at trial. Plaintiff and the Nationwide Class will also suffer irreparable
harm if Defendant’s conduct is not enjoined

47. As a result of the foregoing, Plaintiff and the Nationwide Class have

been damaged in an amount to be proven at trial.
10

 

 

COMPLAINT

 

Case 8:13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 12 of 15 Page |D #:14

\coo-.JG\L)\L¢J.)N»_

N[\.)[\J[\}[\)[\.)MNN»_:_¢)_¢\-»_a»-¢m»_n»-.\»_a
OO`~JO'\M-¥LWNF-‘C\DOO*-\O\Lh-LWN'-‘C>

THIRD CLAIM
(On behalf of the Nationwide Class)
Fraud in the Inducement

48. Plaintiff realleges by reference, as if fully set forth herein, all of the
above Paragraphs.

49. Fraudulent inducement occurs when: (1) a misrepresentation is either
fraudulent or material; (2) a misrepresentation induces the recipient to form a
contract; and (3) the recipient is justified in relying on the misrepresentation If all
of these requirements are met, the contract is voidable The Restatement (Second)
of Contracts § 164 (1981).

50. Defendant’s representation that it would not charge an annual fee for
the BEST BUY REWARD ZONE CREDIT CARDS was fraudulent and material
and reasonably induced Plaintiff and the Nationwide Class to apply for and receive
credit cards from Defendant.

51. Plaintiff and the Nationwide Class were reasonably justified in
relying on Defendant’s misrepresentations because Defendant clearly and
conspicuously stated that there was no annual fee in the TILA-mandated “Schumer
Boxes” accompanying its BEST BUY REWARD ZONE CREDIT CARD
APPLICATION.

52. As a result of Defendant’s unlawful acts and practices, Plaintiff and
the Nationwide Class have suffered actual monetary damages, including, but not
limited to, the amount of annual fees charged and any finance charges on the annual
fees, in an amount to be established at trial.

53. As a result of the conduct described above, Defendant has been, and will
continue to be, unjustly enriched at the expense of Plaintiff and members of the
Nationwide Class. Specifically, Defendant has been unjustly emiched by obtaining

revenues and profits that it would not otherwise have obtained absent its unlawful

conduct
l l

 

 

 

COMPLAINT

 

CaSe 8 13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 13 of 15 Page |D #:15

bhth

\DOO---]G\

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

54. Through its unlawful acts and practices, Defendant has improperly
obtained money from Plaintiff and the Nationwide Class, and will continue to
improperly obtain money from the general public, As such, Plaintiff requests that
this Court cause Defendant to restore this money to Plaintiff and all Nationwide
Class members, and to enjoin Defendant from its continued fraudulent inducement
as discussed herein Otherwise, Plaintiff, the Nationwide Class, and members of the
general public, may be irreparably harmed and/or denied an effective and complete
remedy if such an order is not granted Plaintiff and the Nationwide Class will also
suffer irreparable harm if Defendant’s conduct is not enjoined

55. Plaintift`, on behalf of himself, and on behalf of the Nationwide Class,
seeks all remedies, including, inter alia, injunctive relief, restitution and the
disgorgement of money acquired by means of the unlawful business practices
alleged above

FOURTH CLAIM
(On behalf of the Nationwide Class)
Fraud in the Execution

56. Plaintiff realleges by reference, as if fully set forth herein, all of the
above Paragraphs.

57. Fraud in the execution occurs if a “misrepresentation” as to the
character or essential terms of a proposed contract induces conduct that appears to
be a manifestation of assent by one who neither knows nor has reasonable
opportunity to know of the character or essential terms of the proposed contract.”
The Restatement (Second) of Contracts § 163 (1981). If the elements of fraud in
the execution are met, the contract is not merely voidable, it is void. Id.

58. Pursuant to TILA, annual fees are an essential term in a contract for
consumer credit. TILA requires that the amount of annual fees to be charged in a

contract for consumer credit, not only be disclosed, but be clearly and

12

 

 

COMPLAINT

 

Case E:13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 14 of 15 Page |D #:16

\DOO-JO\U\-hi-)JN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

conspicuously disclosed in a “Schumer Box” accompanying a credit card
application

59. Defendant misrepresented the character of the annual fees by
expressly stating in the Schumer Boxes accompanying its BEST BUY REWARD
ZONE CREDIT CARD APPLICATIONS that no annual fees would be charged
Defendant’s misrepresentation induced Plaintiff and members of the Nationwide
Class to obtain credit from Defendant that they would not otherwise have obtained
Plaintiff and the Nationwide Class neither knew, nor had a reasonable opportunity
to know, that they would be charged an annual fee. As a result, naud in the
execution has occurred and their contract for credit from Defendant is void.

60. The policies, acts and practices employed by Defendant, as described
herein, are known, implemented and endorsed by Defendant

61. As a result of Defendant’s unlawful acts and practices, Plaintiff and
the Nationwide Class have suffered actual monetary damages, including, but not
limited to, the amount of annual fees charged and any finance charges on the annual
fees, in an amount to be established at trial.

62. As a result of the conduct described above, Defendant has been, and will
continue to be, unjustly enriched at the expense of Plaintiff and members of the
Nationwide Class, Specifically, Defendant has been unjustly enriched by obtaining
revenues and profits that they would not otherwise have obtained absent its unlawful
conduct

63. Through its unlawful acts and practices, Defendant has improperly
obtained money from Plaintiff and the Nationwide Class, and continue to improperly
obtain money from the general public. As such, Plaintiff requests that this Court
cause Defendant to restore this money to Plaintiff and all Class members, and to
enjoin Defendant from its continued haud in the execution as discussed herein
Otherwise, Plaintiff, the Nationwide Class, and members of the general public, may

be irreparably harmed and/or denied an effective and complete remedy if such an
13

 

 

 

COl\IPLAINT

CaSe 8 13-cV-OO743-.]LS-.]PR Document 1 Filed 05/09/13 Page 15 of 15 Page |D #:17

l\.)

\OOO‘---lO\l-h-BW

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

order is not granted Plaintiff and the Nationwide Class will also suffer irreparable
harm if Defendant’s conduct is not enjoined

64. Plaintiff, on behalf of himself, and on behalf of the Nationwide Class,
seeks all remedies, including, inter alia, injunctive relief, restitution and the
disgorgement of money acquired by means of the unlawful business practices
alleged above.

_F.IrT__HCLa_m
(On behalf of the California Subclass)

(Yiolation of California Business & Professions Code § 17500, etseg.!

65. Plaintiff realleges by reference, as if fully set forth herein, all of the
above Paragraphs.

66. The California Business & Professions Code § 17500, er seq. (“§
17500”) prohibits unfair, deceptive, untrue, or misleading statements, including, but
not limited to, false statements as to fees attached to credit offerings

67. Defendant’s Schumer Boxes falsely stated that consumers would not be
charged an annual fee for obtaining Best Buy Reward Zone Credit Cards, and were
therefore deceptive and misleading within the meaning of the California Business
and Professions Code

68. Plaintiff relied on Defendant’s false and material representations that
there would be no annual fee, and he suffered economic injury because, contrary to
those disclosures, he was charged an annual fee

69. Through its false and misleading statements, Defendant has improperly
obtained money from Plaintiff and the California Subclass, and continues to
improperly obtain money from the general public. As such, Plaintiff requests that
this Court cause Defendant to restore this money to Plaintiff and all California
Subclass members, and to enjoin Defendant from continuing to violate § 17500 as

discussed herein Otherwise, Plaintiff, the California Subclass, and members of the

14

 

 

 

COMPLAINT

